DATE: August 3, 2021


             The following cases in which the Court of Appeals issued published opinions have been
      appealed to the Supreme Court:

          1. Richard Roosevelt Hill
             v. Commonwealth of Virginia
             Record No. 0562-20-4
             Opinion rendered by Judge Humphreys on
              May 18, 2021

          2. Rakim Malik Nottingham
             v. Commonwealth of Virginia
             Record No. 0340-20-1
             Opinion rendered by Judge O’Brien on
              May 25, 2021

          3. Blake Andrew Mitchell, Jr.
             v. Commonwealth of Virginia
             Record No. 1976-18-1
             Opinion rendered by Judge Russell on
              June 8, 2021

          4. Michael Moreno, s/k/a, etc.
             v. Commonwealth of Virginia
             Record No. 1801-19-4
             Opinion rendered by Judge Athey on
              June 15, 2021

          5. Moussa Moise Haba
             v. Commonwealth of Virginia
             Record No. 0256-20-4
             Opinion rendered by Chief Judge Decker on
              June 15, 2021
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Olmedo Alberto Pena Pinedo
   v. Commonwealth of Virginia
   Record No. 0515-19-3
   Opinion rendered by Judge Humphreys
    on May 5, 2020
   Judgment of Court of Appeals affirmed by opinion rendered on July 8, 2021
   (200748)

2. Endalkachew Merid
   v. Commonwealth of Virginia
   Record No. 1145-19-4
   Opinion rendered by Judge Petty
    on May 12, 2020
   Judgment of Court of Appeals affirmed by published order on July 1, 2021
   (200799)

3. William Howard Robinson
   v. Commonwealth of Virginia
   Record No. 0154-19-4
   Opinion rendered by Judge Humphreys
    on July 7, 2020
   Refused (200981)

4. Nicholas Lee Thomas
   v. Commonwealth of Virginia
   Record No. 0176-20-2
   Opinion rendered by Judge Humphreys
    on December 1, 2020
   Refused (201572)
       On July 15, 2021 the Supreme Court issued an opinion in the following case, which had
been appealed from this Court

    1. Erin Marie Coster Evans
       v. James August Evans, Jr.
       Record No. 1666-19-3
       Memorandum opinion rendered by Judge AtLee on July 21, 2020
       Judgment of Court of Appeals affirmed by opinion rendered on July 15, 2021
       (201108)
